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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF ALABAMA


THE COLONIAL BANCGROUP, INC.,

       Plaintiff,

       v.                                         Civil Action No: 2:09-cv-00182-MHT

ROBERT E. LOWDER, et al.,

       Defendants.



                               STIPULATION OF DISMISSAL

       The Colonial BancGroup, Inc. (the "Debtor") and the defendants in this matter (the

"Defendants") hereby stipulate to the dismissal with prejudice, costs taxed as paid, of the above-

captioned civil action pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

       The undersigned parties agree that the dismissal of this action does not preclude any

claim against the Defendants or any other "Insured Person" (as that term is defined in the

Debtor's director and officer insurance policies) by the Federal Deposit Insurance Corporation as

receiver for Colonial Bank or in its corporate capacity, or by any other governmental or

regulatory agency asserted in any criminal, administrative, or civil action.


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Dated: June 5, 2012


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 William E. Powell, III; James W. Rane;
 Simuel Sippial, Jr.; and Estate of Edward V.
 Welch




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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document

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         This 5th day of June, 2012.

                                                     /s/ Andrew P. Campbell
                                                    Andrew P. Campbell, Esq.
